UNITED STATES DISTRICT COURT — _ PRINT
SOUTHERN DISTRICT OF NEW YORK Dis ccinbnetabticens commaasonccal

 

 

 

 

 

United States of America 1:00-cr-01008-NRB
Plaintiff(s),
v. AFFIDAVIT IN SUPPORT OF
Xavier Williams MOTION TO ADMIT COUNSEL
Defendant(s). PRO HAC VICE
|, Calyssa Zellars , being duly sworn, hereby depose and say as
follows:
1, lam a(n) Associate with the law firm of The Decarceration Collective Law Office
2. | submit this affidavit in support of my motion for admission to practice pro hac vice in
the above-captioned matter,
3. As shown in the Certificate)s) of Good Standing annexed hereto, |am a member in good
standing of the bar of the state(s) of Michigan
A, There are no pending disciplinary proceedings against me in any state or federal moar True
5. | Have not been convicted of a felony. If you have, please describe facts and
circumstances.
N/A
6. j_eeeret been censured, suspended, disbarred or denied admission or
readmission by any court. If you have, please describe facts and circumstances.
N/A
7. Attorney Registration Number(s) if applicable: Ps2634(m)_—
8. Wherefore, your affiant respectfully submits that s/he be permitted to appear as counsel and
advocate pro hac vice in case _10-r-01008-NAB for Defendant Xavier Williams

 

 

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eu eee ele Signature of Movant

Firm Name The Decarceration Collective Law Office

 

 

 

 

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\ ~ BECHARA DAMOUNI Email z eo a uct

~ | NOTARY PUBLIC - STATE OF MICHIGAN Phone_3 |X -£ D8 ¥3

 

COUNTY OF WAYNE
My Commission Expires October 12, 2027
Acting in the County of OA LAW _

 

 

 
